       Case 1:16-cr-00052-DLH              Document 245      Filed 01/27/17      Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,              )
                                       )
               Plaintiff,              )       ORDER DENYING REQUEST FOR
                                       )       FURLOUGH TO OBTAIN EVALUATION
       vs.                             )
                                       )
Aaron Earl Salazar,                    )       Case No. 1:16-cr-052
                                       )
               Defendant.              )


       Before the court is a “Motion for Furlough” filed by defendant on January 24, 2017.

Defendant was previously ordered detained pending trial. He is currently being housed at the Heart

of America Correctional and Treatment Center (“HACTC”) in Jamestown, North Dakota. In the

motion, he advises that he has scheduled a chemical dependency evaluation at Goodman Addiction

Services in Minot, North Dakota, at 1:00 p.m. on February 15, 2017. He requests to be released to the

custody of fiance, Brittany Keyes, for transport to this evaluation with the understanding that he will

immediately return to HACTC upon its completion.

       Since defendant filed his motion, the court has issued an order directing that he be released to

the Bismarck Transition Center on January 30, 2017. So long as he remains compliant with his release

conditions, he shall be residing in Bismarck for the foreseeable future. Given these circumstances, the

prospect of him commuting to Goodman Addiction Services for treatment should he be accepted into

its treatment program is not feasible. Therefore, the court will not grant his request for a furlough.

Defendant’s motion (Docket No. 242) is DENIED.

       IT IS SO ORDERED.

       Dated this 27th day of January, 2017.

                                                       /s/ Charles S. Miller, Jr.
                                                       Charles S. Miller, Jr., Magistrate Judge
                                                       United States District Court
